Case 08-14631-GMB             Doc 464      Filed 07/01/08 Entered 07/01/08 17:51:38                      Desc Main
                                          Document     Page 1 of 5



 NOLA R. BENCZE (NB7698)
 JAMES J. O'TOOLE (JO2030)
 BUCHANAN INGERSOLL & ROONEY PC
 1835 Market Street, 14th Floor
 Philadelphia, Pennsylvania 19103
 Tel.: (215) 665-8700
 Facsimile: (215) 665-8760

 Attorneys for Creditor Waste
 Management of New Jersey, Inc.

                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
                              (CAMDEN VICINAGE)
 ____________________________________
                                      :  (Hon. Gloria M. Burns)
 In re:                               :
 SHAPES/ARCH HOLDINGS, L.L.C.,        :  Chapter 11
 et al,                               :
                   Debtors.           :  Lead Case No.: 08-14631 (GMB)
                                      :  (Jointly Administered)
                                      :
 ____________________________________:    Hearing Date: July 1, 2008 at 10:00 a.m.

     WASTE MANAGEMENT OF NEW JERSEY, INC.'S OBJECTION TO DEBTORS'
       MOTION TO DISALLOW CLAIMS FOR CONTRIBUTION AND IN THE
                  ALTERNATIVE TO ESTIMATE CLAIMS

                  Creditor Waste Management of New Jersey, Inc. ("Waste Management"), by and

 through its undersigned counsel, hereby objects to Shapes/Arch Holdings L.L.C. and its related

 debtor entities (collectively, the "Debtors"),1 the debtors and debtors-in-possession's motion to

 disallow Waste Management's proof of claim ("the "Motion"). In opposition to the Motion,

 Waste Management represents as follows:




 1
          In addition to Shapes/Arch Holdings L.L.C. ("Shapes/Arch"), the following entities, all of which are wholly
 owned subsidiaries of Shapes/Arch, also filed petitions pursuant to Chapter 11, Title 11 of the United States Code
 (the "Bankruptcy Code"): Shapes L.L.C. ("Shapes"), Delair L.L.C. ("Delair"), Accu-Weld L.L.C. ("Accu-Weld")
 and Ultra L.L.C. ("Ultra").
Case 08-14631-GMB         Doc 464     Filed 07/01/08 Entered 07/01/08 17:51:38              Desc Main
                                     Document     Page 2 of 5




                                          BACKGROUND

                1.       On March 16, 2008, the Debtors filed their respective petitions for relief

 under Chapter 11 of the Bankruptcy Code. These cases are being jointly administered pursuant

 to this Court's Order of March 18, 2008 under the lead debtor Shapes/Arch Holdings, L.L.C.

                2.      The Debtors continue to operate their businesses and manage their

 properties as debtors-in-possession. This Court has not appointed a trustee or examiner.

                3.      This Court has jurisdiction over Debtors' Motion pursuant to 28 U.S.C.

 § 1334. Venue is proper in this Court pursuant to 28 U.S.C. § § 1408 and 1409. This is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2).

                               THE PENNSAUKEN LITIGATION

                4.      In 1991, Pennsauken Township, Pennsauken Solid Waste Management

 Authority and the Pollution Control Financing Authority of Camden County filed an action in the

 Superior Court of New Jersey, Law Division against various transporters, generators,

 municipalities and other parties potentially responsible for the contamination of a landfill site

 located in the Township of Pennsauken (the "Landfill"). The action is captioned at Pennsauken

 Solid Waste Mgt. Auth. v. James D. Morrissey, Inc., et al., Docket No. L-13395-91 (the

 "Pennsauken Litigation").

                5.      Plaintiffs assert claims under the New Jersey Spill Act (the "Spill Act"),

 N.J.S.A. 58:10-23.11 et seq. in the Pennsauken Litigation. Specifically, Plaintiffs seek the

 recovery of costs it has incurred and will incur in the future for the remediation of the Landfill.

                6.      Plaintiffs also have brought several common law causes of action in the

 Pennsauken Litigation, including negligence, nuisance, misrepresentation, creation of an




                                                   2
Case 08-14631-GMB         Doc 464     Filed 07/01/08 Entered 07/01/08 17:51:38             Desc Main
                                     Document     Page 3 of 5



 abnormally dangerous activity and gross negligence. Plaintiffs' alleged damages are

 approximately $77,871,002.43.

                7.      The Debtors own and operate a manufacturing facility that is adjacent to

 the Landfill. The Debtors also disposed of waste containing hazardous substances at the Landfill

 during the relevant time period in the Pennsauken Litigation. The Debtors are both an on-site

 and off-site contributor to the hazardous substances at the Landfill and therefore are liable for

 their allocable share of the costs of the Site's remediation.

                8.      Waste Management also is a direct defendant in the Pennsauken Litigation

 and has cross-claims against the Debtors under the Spill Act.

                9.      Pursuant to an Administrative Consent Order entered into with the New

 Jersey Department of Environmental Protection ("NJDEP"), the Pennsauken plaintiffs have

 undertaken remedial investigative studies and efforts at the Landfill. And, pursuant to an

 agreement with the Pennsauken Litigation plaintiffs, the transporter liaison group (which

 includes Waste Management) has performed NJDEP ordered remedial studies at the site. Waste

 Management therefore has expended funds to remediate the Landfill. A true and correct copy of

 the May 15, 2008 letter from Sanford Schmidt identifying the transporter liaison group's

 damages is attached as Exhibit 1.

                10.     Expert discovery is ongoing in the Pennsauken Litigation and trial is

 scheduled to commence on September 2, 2008.

                        WASTE MANAGEMENT'S PROOF OF CLAIM

                11.     On May 15, 2008, Waste Management filed a timely proof of claim

 against the Debtors. A true and correct copy of the proof of claim is attached as Exhibit 2.

                12.     In its proof of claim, Waste Management seeks reimbursement of the

 funds it has expended as a member of the transporter liaison group to remediate the Landfill.


                                                   3
Case 08-14631-GMB         Doc 464    Filed 07/01/08 Entered 07/01/08 17:51:38              Desc Main
                                    Document     Page 4 of 5



 Waste Management also asserted a claim for at least a portion of the past and future remediation

 costs, which are currently estimated to be $77,871,002.43.

                                      LEGAL ARGUMENT

                13.      Debtors contend that Waste Management's claim should be disallowed

 pursuant to Section 502(e)(1) of the Bankruptcy Code because it is a contingent claim for

 reimbursement or contribution upon which Waste Management and the Debtors are jointly liable

 to a third party. On the contrary, at least a portion of Waste Management's claim seeks

 reimbursement of funds it has actually expended and will actually expend to remediate the

 Landfill.

                14.      To the extent that Waste Management is seeking reimbursement of funds

 it has personally expended or will personally expend, this Court should not disallow the claim.

 For example, the court in Matter of Harvard Indus., Inc., 138 B.R. 10 (Bankr. D. Del. 1992), did

 not disallow a proof of claim under Section 502(e)(1)(B) that was filed by a landfill owner where

 the owner had remediated the site. The court reasoned that a claim which sought reimbursement

 of funds it had expended or would expend to remediate the site was not contingent within the

 meaning of Section 502(e)(1)(B). Similarly, the court in In re Allegheny Int'l, Inc., 126 B.R. 919

 (W.D. Pa.), aff'd, 950 F.2d 721 (3d Cir. 1991), found that a claim seeking reimbursement of

 funds expended by the claimant and not a governmental agency was not disallowable under

 Section 502(e)(1)(B).

                                         RESERVATION

                15.      Waste Management reserves its right to supplement its response on any

 additional ground.




                                                 4
Case 08-14631-GMB          Doc 464    Filed 07/01/08 Entered 07/01/08 17:51:38         Desc Main
                                     Document     Page 5 of 5




         WHEREFORE, Waste Management of New Jersey, Inc. respectfully requests that this

 Court deny Debtors' Motion to Disallow its Proof of Claim and grant such other and further

 relief as is just and proper.

 Dated: July 1, 2008
                                                    BUCHANAN INGERSOLL & ROONEY PC

                                                    By:    /s/ Nola R. Bencze
                                                           Nola R. Bencze
                                                           James J. O'Toole
                                                           1835 Market Street, 14th Floor
                                                           Philadelphia, Pennsylvania 19103
                                                           Tel.: (215) 665-8700
                                                           Facsimile: (215) 665-8760
                                                          Attorneys for Creditor Waste
                                                          Management of New Jersey, Inc.




                                                5
